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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
GUIDE()NE TAYLOR BALL )
CONSTRUCTION SERVICES, INC., )
Plaintiff, §
vs. § NO.: 02-1299-T-An
RICKY HURT, et al., §
Defendants. §

 

ORDER

 

Pursuant to an Order of Reference entered March 31, 2005, this case has been referred to
the Magistrate Judge for a new scheduling conference

Counsel are therefore directed to confer regarding proposed deadlines and a new trial date
and submit to the Court within 15 days from entry of this Order a proposed Amended Scheduling

Order which is consistent with the Court’s normal Scheduling Order.

 

IT IS SO ORDERED.
r/
. /A/mrts
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE
Dated: /5 200(
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Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 1:02-CV-01299 was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

